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                                                                               USDS SDNY
UNITED STATES DISTRICT COURT
                                                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                  ELECTRONICALLY FILED
------------------------------------------------------------------x           DOC#:
In the Matter ofSearch Warrants Executed on April 9,                                   -~----;-.,.__
2018
                                                                              DATE FILED:       tf,ft 3 ft
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MICHAEL D. COHEN,

                                                     Plaintiff,                       ORDER

                 -against-


UNITED STATES OF AMERICA

                                                    Defendant.
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KIMBA M. WOOD, District Judge

         In response to Plaintiff's email of 7:30 p.m. today, the Court GRANTS the motion to seal

paragraphs 28, 29, and 30 of the declaration of Todd Harrison, dated April 12, 2018, because of

the need to protect the Government's investigation which is ongoing, and the privacy interests of

any innocent third parties. The Court will seal the corresponding information in the

memorandum of law.

         The Court advises the parties that notwithstanding the Magistrate Judge's failure to initial

the section requiring the warrant and inventory to be maintained under seal, the warrants have

been treated as sealed, as will be any ensuing inventory.


SO ORDERED.



                                                                            KIMBA M. WOOD
                                                                      UNITED STATES DISTRICT JUDGE


                                                                        Dated: April 12, 2018
                                                                        New York 1 New York
